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EEOC Form 161 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Jacqueline A. Holloway From: Honolulu Local Office
4808 Bon Jour Drive 300 Ala Moana Blvd
Nesbit, MS 38651 Room 4-257

Honolulu, HI 96850

 

[J] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.
Raymond Griffin, Jr.,
486-2018-00114 investigator (808) 541-3721

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

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Other (briefly state)

- NOTICE OF SUIT RIGHTS -
(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

    
  

Equal Pay Act (EPA): EPA suits must be filed in federal or state
alleged EPA underpayment. This means that backpay due for a
before you file suit may not be collectible.

ithin 2 years (3 years for willful violations) of the
yiolations that occurred more than 2 years (3 years)
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Enclosures(s) 3 Gervacio Saure, (Date Mailed)

ce: FEDEX EXPRESS- Legal Department
ATTN: Jamie Chu, Senior Attorney
3620 Hacks Cross Rd. f
Building B 3rd Floor '
Memphis, TN 38125 |
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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Honolulu Local Office
300 Ala Moana Boulevard, Room 4-257
P. O. Box 50082
Honolulu, H! 96850
Intake Information Group: (800) 669-4000
intake Information Group TTY: (800) 669-6820
Honolulu Direct Dial: (808) 541-3118
FAX (808) 541-3390
Website: www.eeoc.gov

 

Jacqueline Holloway
4808 Bon Jour Drive
Nesbit, MS 38651

RE: Jacqueline Holloway v. FEDEX EXPRESS
EEOC Charge No. 486-2018-00114

Dear Ms. Holloway:

The purpose of this letter is to inform you that the Honolulu Local Office of the U.S. Equal Employment
Opportunity Commission (EEOC) has concluded its investigation of the above-referenced charge of
employment discrimination. A finding for closure has been made by EEOC because there was insufficient
evidence to substantiate discrimination.

The finding was based on evidence you submitted, evidence from the employer, evidence obtained by an
independent investigation, which was carefully reviewed and analyzed. The finding, however, does not
mean the acts you alleged did not occur, but rather, they do not constitute a violation of the law, within the
jurisdiction of the EEOC.

A review of the evidence indicates you allege Respondent discriminated against you and class of disabled
employees because of disability. You also allege Respondent retaliated against you because of previously
filing an EEOC charge. However, there is no compelling evidence to support your claims. Rather, the
evidence indicates Respondent engaged in the interactive process to provide you reasonable
accommodations (i.e. leave, reassignment) to no avail. Respondent asserts your discharge was based on
violation of the company’s attendance policy (no-call/no show for two consecutive days in December
2017).

Under our Priority Charge Handling Procedures, we focus our limited resources on those charges in which
we believe a violation of the laws enforced by EEOC can be found. We fully understand that the parties to
a charge often have very firm views that the available evidence supports their respective positions, our final
determinations must comport with our interpretations of the available evidence and the laws we enforce.

Enclosed is your Dismissal and Notice of Right to Sue. The Dismissal and Notice of Right to Sue is final.
It will explain your right to pursue the matter in court. If you want to pursue your charge, you may do so
on your own by filing in Federal District Court within 90 days of receiving the Notice of Right to Sue. If
you do not file a lawsuit within the required 90-day period, your right to sue in the matter will expire and
cannot be restored by the EEOC. For questions, please feel free to call me at 808-541-3121.

Sincerely,
Reymoed I. Guffie Ir
Raymond J.-Griffin Jr.
Investigator

Date: 2/14/2019
“Enoeure WAlS2o2: 19-CV-02305-TLP-cgc Document 1-1 Filed 05/14/19 Page 3of5 PagelD 7
Form 161 (11/16) :
INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below. )

Title VIl of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SuiT RIGHTS

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in order to pursue this matter further, you riust file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a “complaint” that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUITRIGHTS - Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1 /08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
Suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION - Title Vil, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE - All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this
information with your attorney and suggest that he or she consult the amended regulations and
appendix, and other ADA related publications, available at
http:/Avww.eeoc.gov/laws/types/disability regulations.cfm.

“Actual” disability or a “record of” a disability (note: if you are pursuing a failure to accommodaté claim
you must meet the standards for either “actual” or “record of” a disability):

> The limitations from the impairment no longer have to be severe or significant for the impairment to
be considered substantially limiting.

> In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,

learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §

1630.2(1)), “major life activities” now include the operation of major bodily functions, such as:

functions of the immune system, special sense organs and skin; normal cell growth; and digestive,

genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,

hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ

within a body system.

Only one major life activity need be substantially limited.

With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating

measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not

considered in determining if the impairment substantially limits a major life activity.

> An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
cancer) is a disability if it would be substantially limiting when active.

> An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
months.

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“Regarded as” coverage:

> An individual can meet the definition of disability if an employment action was taken because of an
actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
condition, or privilege of employment).

> “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
limiting, or that the employer perceives the impairment to be substantially limiting.

>» The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
BOTH transitory (lasting or expected to last six months or less) AND minor.

> A person is not able to bring a failure to accommodate claim if the individual is covered only under the
“regarded as” definition of “disability.”

Note: Although the amended ADA States that the definition of disability “shall be construed broadly” and

~ “should not demand extensive analysis,” some courts require specificity in the complaint-explaining how-an_—

impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
fo establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http://www.eeoc.gov/laws/types/disability regulations.cfm.
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EQUAL EMPLOYMENT OPPORTUNITY COMNISSION
300 Ala Moana Bivd., Room 4-257
P.O. Box 50082
Honolulu, HI 96850

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PENALTY FOR PRIVATE USE $300

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